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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  THE HUMANE SOCIETY OF THE UNITED
  STATES,

                Plaintiff,

                         v.

  THE ANIMAL AND PLANT HEALTH
  INSPECTION SERVICE,
                                                    Civil Action No.18-646 (TNM)
  THE UNITED STATES DEPARTMENT OF
  AGRICULTURE,

  SONNY PERDUE, in his official capacity as
  Secretary of the United States Department of
  Agriculture,

                 Defendants.


                                           ANSWER

       Defendants, the United States Department of Agriculture (“USDA”) and the Animal and

Plant Health Inspection Service (“APHIS”), by and through the undersigned counsel, hereby

answer Plaintiff The Humane Society of the United States’ (“HSUS”) Complaint under the

Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, as follows:

                                      FIRST DEFENSE

       Defendants reserve the right to amend this Answer to assert any other matter that

constitutes an avoidance or affirmative defense under Federal Rule of Civil Procedure 8(c).
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                                       SECOND DEFENSE

       Plaintiff is not entitled to compel the production of responsive records protected from

disclosure by one or more of the exemptions or exclusions to FOIA or the Privacy Act, 5 U.S.C.

§§ 552, 552a.

                                         THIRD DEFENSE

       As to some or all of the claims asserted in this action, Plaintiff has failed to state a claim

upon which relief may be granted under FOIA.

                                       FOURTH DEFENSE

       Plaintiff is not entitled to attorneys’ fees or costs.

                                         FIFTH DEFENSE

       At all times alleged in the Complaint, Defendants were acting in good faith, with

justification, and pursuant to authority.

                                         SIXTH DEFENSE

       Defendants have not improperly withheld information under the FOIA.

                                       SEVENTH DEFENSE

       As to some or all of the claims asserted in this action, the agency is the only proper

defendant. 5 U.S.C. § 552(a)(4)(B); 5 U.S.C. § 552(f)(1).


                DEFENDANTS’ RESPONSES TO THE NUMBERED PARAGRAPHS

       In response to the specifically-enumerated paragraphs, as set forth in the Complaint,

Defendants admit, deny, and otherwise aver as follows. Any allegations not specifically admitted

are hereby denied. Headers are included for convenience only but do not constitute admissions by

Defendants.




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   1. Paragraph 1 contains legal conclusions and Plaintiff’s characterization of its action to

which a response is not required. To the extent a response is deemed required, Defendants admit

that Plaintiff purports to bring a case under the Freedom of Information Act concerning records

that pertain to the Animal Welfare Act (“AWA”), 7 U.S.C. § 2131, but otherwise deny the

allegations.

   2. Paragraph 2 contains legal conclusions and Plaintiff’s characterizations to which a response

is not required; in addition the allegations contained in this paragraph are immaterial and

impertinent to this action and, therefore, no response is required. To the extent a response is

required, Defendants admit only that (1) Animal and Plant Health Inspection Service (“APHIS”)

administers the AWA, which, in part, establishes requirements concerning the transportation, sale,

and handling of certain animals and (2) regulations established under the AWA set standards for

the humane care and treatment for certain animals that are exhibited to the public, sold for use as

pets, used in research, or transported commercially. Defendants deny the remaining allegations in

paragraph 2.

   3. The allegations contained in this paragraph are immaterial and impertinent to this action,

and, therefore, no response is required.

   4. The allegations contained in this paragraph are immaterial and impertinent to this action,

and, therefore, no response is required.

   5. The allegations contained in this paragraph are immaterial and impertinent to this action,

and, therefore, no response is required.

   6. The allegations contained in this paragraph are immaterial and impertinent to this action,

and, therefore, no response is required.




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    7. The allegations contained in this paragraph contain legal conclusions and Plaintiff’s

characterizations to which no response is required.       To the extent a response is required,

Defendants deny the allegations.

    8. The allegations contained in this paragraph contain legal conclusions and Plaintiff’s

characterizations to which no response is required.       To the extent a response is required,

Defendants lack sufficient knowledge or information to from a belief as to the truth of the

allegations regarding Plaintiff’s motivation and therefore denies the same. Defendants deny the

remaining allegations.

                                JURISDICTION AND VENUE

    9. This paragraph contains Plaintiff’s assertions of jurisdiction to which no response is

required.   To the extent a response is deemed required, Defendants admit this Court has

jurisdiction, subject to the terms and conditions of the FOIA. Defendants deny that this Court has

jurisdiction under the APA.

    10. This paragraph contains Plaintiff’s statement of venue to which no response is required.

To the extent a response is deemed required, Defendants admit that this Court is a proper venue

for actions under the FOIA.

                                            PARTIES

    11. Defendants are without knowledge or information sufficient to confirm or deny the

allegations contained in this paragraph and, on that basis, deny them.

    12. This paragraph contains Plaintiff’s conclusions of law to which no response is required.

To the extent a response is required, Defendants admit that APHIS is an agency of USDA and that

APHIS is in possession of some records that are the subject of Plaintiff’s FOIA requests at issue

in this lawsuit.



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   13. This paragraph contains Plaintiff’s conclusions of law to which no response is required.

To the extent a response is required, Defendants admit that USDA is an Executive Branch

Department and that APHIS is an agency of USDA. Defendants further admit that APHIS is in

possession of some records that are the subject of Plaintiff’s FOIA requests at issue in this lawsuit.

   14. This paragraph contains Plaintiff’s conclusions of law to which no response is required.

To the extent a response is required, Defendants admit that Sonny Perdue is the Secretary of USDA

but deny that Secretary Perdue is a proper defendant.

                                     LEGAL FRAMEWORK

                                  The Freedom of Information Act

   15. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants aver that the cited statute and case law are the best evidence of

their contents.

   16. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants aver that the cited statute is the best evidence of its contents.

   17. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants aver that the cited statute is the best evidence of its contents.

   18. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants aver that the cited statute is the best evidence of its contents.

   19. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants aver that the cited statute is the best evidence of its contents.

   20. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants aver that the cited statute is the best evidence of its contents.




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      21. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants aver that the cited statute is the best evidence of its contents.

                                   The Administrative Procedure Act

      22. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants aver that the cited statute is the best evidence of its contents.

      23. [Omitted in Complaint]

      24. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants aver that the cited statute is the best evidence of its contents.

      25. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants aver that the cited case law is the best evidence of its contents.

      26. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants aver that the cited case law is the best evidence of its contents.

                                       The Animal Welfare Act

         23. 1 The allegations in this paragraph are immaterial and impertinent to this action, and,

therefore, no response is required. To the extent a response is required, this paragraph contains

conclusions of law, and Defendants aver that the cited statute is the best evidence of its contents.

         24 (second). The allegations in this paragraph are immaterial and impertinent to this action,

and, therefore, no response is required. To the extent a response is required, this paragraph

contains conclusions of law, and Defendants aver that the cited statute and regulations are the best

evidence of their contents.

         25 (second). The allegations in this paragraph are immaterial and impertinent to this action,

and, therefore, no response is required. To the extent a response is required, this paragraph



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    Defendants’ answer follows a numbering error that appears in the Complaint.
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contains conclusions of law, and Defendants aver that the cited statute and regulations are the best

evidence of their contents. Defendants admit that APHIS conducts inspections in accordance with

7 U.S.C. 2146 and that APHIS inspectors communicate any deficiencies to the facility

representative and document any noncompliant items in a written inspection report. See

https://www.aphis.usda.gov/aphis/ourfocus/animalwelfare/sa_awa/ct_awa_inspections

       26 (second). This paragraph contains Plaintiff’s characterizations of the contents of the

records to which no response is required. To the extent a response is required, Defendant denies

the allegations.

                      FACTS GIVING RISE TO CAUSES OF ACTION

                       HSUS’s FOIA Requests and Administrative Appeals

   27. Admit.

   28. This paragraph contains Plaintiff’s characterizations to which no response is required. To

the extent a response is required, Defendants aver that the FOIA request is the best evidence of its

contents and that Defendants lack sufficient knowledge or information to form a belief as to the

truth of the allegations regarding Plaintiff’s undercover investigation and therefore deny the same.

Defendants admit only that Plaintiff’s July 14, 2017, FOIA request sought copies of inspection

reports from January 1, 2015, to the time the agency fulfills the request relating to facilities

operating under USDA Certificate No. 52-C-0035. Defendants admit only that Certificate No. 52-

C-0035 is issued to Karl Mogensen, DBA Natural Bridge Zoological Park, Natural Bridge, VA.

Defendants further admit only that APHIS acknowledged receipt of the request on July 14, 2017,

and assigned tracking number 2017-APHIS-05532 to the request. Defendants deny any remaining

allegations.




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     29. Defendants admit that APHIS received a FOIA request on July 26, 2017, and Defendants

aver that the FOIA request is the best evidence of its contents. Defendants admit that APHIS

acknowledged receipt of the July 26, 2017, and assigned it tracking number 2017-APHIS-05755-

F.

     30. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants admit only that the target response date provided to Plaintiff in

the acknowledgement letter was August 11, 2017.

     31. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants admit only that the target response date provided to Plaintiff in

the acknowledgement letter was August 23, 2017.

     32. Defendants admit that APHIS received a letter on January 25, 2018, and Defendants aver

that the letter is the best evidence of its contents.

     33. This paragraph contains Plaintiff’s characterizations to which no response is required. To

the extent a response is required, Defendants admit only that APHIS issued a response to FOIA

request 2017-APHIS-05755-F on January 25, 2018 and produced 19 pages of records with

information withheld under Exemptions 6 and 7(C). Defendants aver that the response is the best

evidence of its contents. Defendants deny the remaining allegations in this paragraph.

     34. This paragraph contains Plaintiff’s characterizations to which no response is required. To

the extent a response is required, Defendants admit only that APHIS issued a response to FOIA

request 2017-APHIS-05532-F on January 31, 2018 and produced responsive records, with

information withheld under Exemptions 6 and 7(C). Defendants aver that the response is the best

evidence of its contents. Defendants deny the remaining allegations in this paragraph.

     35. Admit.



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    36. Defendants aver that the appeal letter is the best evidence of its contents.

    37. Defendants aver that the appeal letter is the best evidence of its contents.

    38. Admit.

    39. This paragraph contains conclusions of law to which no response is required. To the extent

a response is required, Defendants admit only that the target response date provided to Plaintiff in

the acknowledgement letters was March 13, 2018 and avers that the letters are the best evidence

of their contents.

    40. Admit, except that Defendants aver that APHIS provided an estimated date of completion

for FOIA 2018-APHIS-00187-A on March 13, 2018.

    41. Defendants admit that APHIS issued a response to the FOIA appeal on March 14, 2018,

and aver that the response is the best evidence of its contents.

    42. This paragraph contains conclusions of law and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, Defendants aver that the response is the

best evidence of its contents and deny any remaining allegations.

    43. Admit.

                     USDA’s History of Releasing AWA Inspection Information

    44. The allegations in this paragraph, which relate to Plaintiff’s dismissed APA claim, are

immaterial and impertinent to this action, and, therefore, no response is required.

    45. The allegations in this paragraph, which relate to Plaintiff’s dismissed APA claim, are

immaterial and impertinent to this action, and, therefore, no response is required.

    46. The allegations in this paragraph, which relate to Plaintiff’s dismissed APA claim, are

immaterial and impertinent to this action, and, therefore, no response is required.




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    47. The allegations in this paragraph, which relate to Plaintiff’s dismissed APA claim, are

immaterial and impertinent to this action, and, therefore, no response is required.

    48. The allegations in this paragraph, which relate to Plaintiff’s dismissed APA claim, are

immaterial and impertinent to this action, and, therefore, no response is required.

    49. The allegations in this paragraph, which relate to Plaintiff’s dismissed APA claim, are

immaterial and impertinent to this action, and, therefore, no response is required.

    50. The allegations in this paragraph, which relate to Plaintiff’s dismissed APA claim, are

immaterial and impertinent to this action, and, therefore, no response is required.

    51. The allegations in this paragraph, which relate to Plaintiff’s dismissed APA claim, are

immaterial and impertinent to this action, and, therefore, no response is required.

    52. The allegations in this paragraph, which relate to Plaintiff’s dismissed APA claim, are

immaterial and impertinent to this action, and, therefore, no response is required.

                               Importance of AWA Inspection Records

    53. This paragraph contains Plaintiff’s characterizations to which no response is required. To

the extent a response is required, Defendants lack sufficient knowledge or information to form a

belief as to the truth of the allegations regarding Plaintiff’s interest in the records and therefore

denies the same. Defendants deny any remaining allegations.

    54. This paragraph contains Plaintiff’s characterizations to which no response is required. To

the extent a response is required, Defendants lack sufficient knowledge or information to form a

belief as to the truth of the allegations regarding Plaintiff’s or other entities’ interest in the records

and therefore denies the same. Defendants deny any remaining allegations.

    55. This paragraph contains Plaintiff’s characterizations to which no response is required. To

the extent a response is required, Defendants lack sufficient knowledge or information to form a



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belief as to the truth of the allegations regarding Plaintiff’s or other entities’ interest in the records

and therefore denies the same. Defendants aver that the cited publications are the best evidence

of their contents. Defendants deny any remaining allegations.

    56. This paragraph contains Plaintiff’s characterizations to which no response is required. To

the extent a response is required, Defendants lack sufficient knowledge or information to form a

belief as to the truth of the allegations regarding Plaintiff’s or other entities’ interest in the records

and therefore denies the same. Defendants deny any remaining allegations.

                                      CLAIMS FOR RELIEF

 Count 1: Defendants Unlawfully Withheld Dealer Information that is Required to be Released

    57. Defendants incorporate by reference their responses to Paragraphs 1-56.

    58. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

    59. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

    60. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

    61. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

Count 2: Defendants Unlawfully Withheld Exhibitor Information that is Required to be Released

    62. Defendants incorporate by reference their responses to Paragraphs 1-61.

    63. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.




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   64. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

   65. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

   66. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

   67. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

     Count 3: Defendants Unlawfully Withheld Segregable Portions of Public Information

   68. Defendants incorporate by reference their responses to Paragraphs 1-67.

   69. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

   70. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

   71. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

          Count 4: Defendants Unlawfully Failed to Explain Their New Policy of Withholding

                                   AWA Inspection Report Information

   72. Defendants incorporate by reference their responses to Paragraphs 1-71.

   73. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

   74. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.



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    75. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

    76. This paragraph contains legal conclusions and Plaintiff’s characterizations to which no

response is required. To the extent a response is required, the allegations are denied.

                                      PRAYER FOR RELIEF

        The remaining paragraphs of the Complaint contain Plaintiff’s prayer for relief to which

no response is required. To the extent a response may be deemed required, Defendants deny that

Plaintiff is entitled to the relief requested or to any relief whatsoever.


                                        Respectfully submitted,

                                        JESSIE K. LIU
                                        United States Attorney
                                        D.C. BAR # 472845

                                        DANIEL F. VAN HORN
                                        Chief, Civil Division
                                        D.C. BAR # 924092

                                        By:__________/s/_________________
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